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                EXHIBIT D
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                                                                         Page 1

1       UNITED STATES BANKRUPTCY COURT
2       DISTRICT OF DELAWARE
3
4
5       In re:                                :
                                              :     Chapter 11
6       ENERGY FUTURE HOLDINGS                :
        CORP., et al.,                        :     Case No. 14-10979(CSS)
7                                             :
                    Debtors.                  :     (Jointly Administered)
8       _____________________________ :
9
10
11
12
13                                     United States Bankruptcy Court
14                                     824 North Market Street
15                                     Wilmington, Delaware
16
17                                     August 26, 2016
18                                     12:38 PM - 1:46 PM
19
20
21      B E F O R E :
22      HON CHRISTOPHER S. SONTCEHI
23      U.S. BANKRUPTCY JUDGE
24
25      ECR OPERATOR:    LESLIE MURIN

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1       that have arisen that there are some themes that are very

2       relevant for today.    One of the themes that carries through

3       this case from the very beginning is the issue of tax and

4       the potential for a multi-billion dollar tax liability

5       resulting from a spinoff or a decoupling of the estates or

6       even a reorganization of the estates.

7                   And, also, a vigorous position from the T-First

8       lenders which was articulated in, beginning in May 2014 and

9       has continued to be their position which is one for a desire

10      for speed, to reorganize as quickly as possible and, also, a

11      position from day one of the case that they were just fine

12      with a taxable spin because they felt the tax liability

13      would be, in all likelihood, stranded at EFH Corp and sort

14      of not be their problem.

15                  I feel that a lot of the sort of push of the

16      objectors' case, once we need to ignore all of that backdrop

17      and think about the case as if it started in February of

18      this year fresh with no background, no backdrop of parties'

19      positions from the beginning of the case and developments in

20      the case.    And I don't think that's appropriate.               I don't

21      think it would be appropriate for management to think about

22      that -- think about the case in that way.            I don't think it

23      would be appropriate for the directors to think about the

24      case in that way, and I don't think it's appropriate for me

25      as the judge to think about the case in that way.

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